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 6

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 8                              UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10

11 PERFORMANCE DESIGNED                            Case No.: 16-CV-0629-GPC-RBB
   PRODUCTS LLC,
12 a California limited liability company,         MEMORANDUM OF POINTS
                                                   AND AUTHORITIES IN
13                 Plaintiff,                      SUPPORT OF MAD CATZ,
       v.                                          INC.S’ MOTION TO DISMISS
14                                                 COMPLAINT FOR PATENT
      MAD CATZ, INC.,                              INFRINGEMENT PURSUANT
15    a Delaware corporation, and                  TO FED. R. CIV. P. 12(b)(6)
16    DOES 1-10, inclusive,                        Oral Argument Requested
17                 Defendants.                     Date: June 24, 2016
                                                   Time: 1:30 p.m.
18                                                 Ctrm: 2D
                                                   Judge: Hon. Gonzalo. P. Curiel
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 1   I.      INTRODUCTION
 2           The scope of a design patent is extremely narrow — it is limited entirely to the
 3   ornamental features illustrated in the patent’s drawings. A design patent is infringed
 4   then only if the overall appearance of an accused product is substantially the same as
 5   the patented design as a whole. In other words, there can be no design patent
 6   infringement unless an ordinary observer, familiar with the prior art, would be
 7   deceived into thinking the accused product is the same as the patented design. Plaintiff
 8   does not and cannot meet this standard because Mad Catz, Inc.’s (“Mad Catz”)
 9   Accused Product bears no resemblance whatsoever to the design claimed (the
10   “Claimed Design”) by U.S. Patent No. D624,078 (“the ’D078 Patent”).1
11           The Federal Circuit’s test for design patent infringement is a simple side-by-side
12   view comparison of the drawings contained in the asserted patent and photographs
13   depicting the accused product. As shown herein, such a comparison reveals that the
14   Accused Product lacks at least the following prominent ornamental features that
15   contribute to the overall appearance of the Claimed Design: the Claimed Design is
16   bulbous, its sides are curved and round, its bottom line is arched, its top line angles up
17   and then indents inward, its extension handgrips are curved and round, its left handgrip
18   is significantly longer than its right handgrip, its right handgrip extends only slightly
19   from the body, and its face and underside are uniformly flat.
20            ’D078 Patent – Figure 2                         Accused Product
21                     Angled & Indented                                        Flat

     Rounded &                                    Straight &
22                                                Angled
     Curved
23
                           Flat            Slight
24                                         Extension

25
     Significant                                       Sloped &           Squared &            Significant
                          Rounded &
     Extension                                         Angled             Flat
26                        Curved                                                               Extension

27          The ’D078 Patent is attached as Exhibit A to the Declaration of Tyson E.
             1
     Marshall in Support of Mad Catz’ Motion to Dismiss (“Marshall Decl.”).
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 1   (Compare Marshall Decl. ¶ 1, Ex. A with id. ¶ 4, Ex. C; see also Complaint for Patent
 2   Infringement (ECF No. 1) (“Complaint”) ¶ 11.) These characteristics are
 3   unequivocally defined by the solid lines of the seven drawings of the ’D078 Patent.
 4         By contrast, the Accused Product is boxy, the sides are straight and angled, the
 5   bottom is flat, the top is flat and not indented, the extension handgrips are squared, the
 6   left handgrip is only slightly shorter than the right handgrip, the right handgrip extends
 7   significantly from the body, the face slopes downward at the handgrips, and the
 8   underneath is not flat. Even this cursory comparison is sufficient to conclude that an
 9   ordinary observer would never believe that the Accused Product is the same as that of
10   the Claimed Design. Thus, Plaintiff’s infringement allegation not only is implausible,
11   but impossible.
12         Not surprising then, Plaintiff does not assert any factual allegations sufficient to
13   raise even an inference of purported similarity between the Accused Product and the
14   Claimed Design. Instead, Plaintiff bases its infringement claim on a single, conclusory
15   allegation that Mad Catz has infringed the ’D078 Patent simply by manufacturing the
16   Accused Product. Yet, other than both items being video game controllers — a
17   functional aspect outside the scope of the ’D078 Patent and wholly irrelevant —
18   Plaintiff can show no demonstrated similarity between the appearance of the Accused
19   Product and the Claimed Design. Plaintiff’s conclusory allegations alone are
20   insufficient to plead properly its claim. Therefore, the Complaint should be dismissed
21   because it fails to state a plausible claim and does not contain facts sufficient to allow
22   the Court to draw any reasonable inference that Mad Catz is liable for infringement.
23   Leave to amend the Complaint would be futile, as no amendment can overcome the
24   plain and fatal differences easily apparent between the Accused Product and the
25   Claimed Design.
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 1   II.    FACTUAL BACKGROUND
 2          For over 20 years, Mad Catz has manufactured innovative video game
 3   controllers and peripheral input devices for playing video games. (Marshall Decl. ¶ 9.)
 4   For example, while the terms of the following design patents have since expired, Mad
 5   Catz was the assigned holder of the following design patents dating back to 1995:
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           USD380,783            USD410,914               USD415,752                 USD425,047
10         (filed 1995)          (filed 1998)             (filed 1998)               (filed 1999)

11   (See id. at ¶¶ 5-9, Exs. D-G.) In December 2015, Mad Catz announced a new
12   generation of innovative video game controllers intended for arcade-style fighting
13   video games. (Id. at ¶ 9.) One of the controllers announced by Mad Catz at that time
14   was the “FightPad Pro.” (Id.)
15          Shortly thereafter, on March 11, 2016, Plaintiff filed its Complaint alleging that
16   Mad Catz’ FightPad Pro (hereinafter, the “Accused Product”) willfully infringes the
17   Claimed Design of the ’D078 Patent. (Complaint ¶¶ 10 n.1, 11.)2 Plaintiff’s sole
18   allegation of infringement is the conclusory assertion that the Accused Product “has an
19   overall appearance that is confusingly similar and substantially the same, in view of
20   the prior art and in the eyes of the ordinary observer, as PDP’s Fight Pad for Xbox One
21   controller (and the designs claimed in the ’D078 Patent).” (Id. ¶ 11.) Yet, and as
22   shown below, the Complaint simply includes just one drawing — Figure 2 of the
23   ’D078 Patent — and places it, side-by-side with four identical (except for the image
24   sizes and colors) photographs of the Accused Product. (Id.)
25

26          2
              Plaintiff alleges (based on “information and belief”) that Mad Catz’ purported
     acts of infringement were “willful.” (Complaint ¶ 16.) Plaintiff provides no
27   supporting facts to demonstrate that Mad Catz had any advance knowledge of the
     ’D078 Patent.
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 1            Claimed Design (Figure 2)                              Accused Product
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 8   (Complaint ¶ 11.) The Complaint does not actually allege any purported factual
 9   similarities between the Accused Product and the Claimed Design. Further, while
10   mentioned, the Complaint does not include an image of Plaintiff’s “Fight Pad for Xbox
11   One controller,” which is shown here with another image of the Accused Product:
12               PDP’s Fight Pad for Xbox One                       Accused Product
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19   (Compare Marshall Decl. ¶ 3, Ex. B with id. ¶ 4, Ex. C.)
20   III.   ARGUMENT
21          A.     Governing Principles Of Law
22                 1.    Failure To State A Claim Upon Which Relief Can Be Granted
23          To state a claim upon which relief can be granted, a complaint must contain a
24   “short and plain statement of the claim showing the pleader is entitled to relief.” Fed.
25   R. Civ. P. 8(a)(2) (emphasis added). To survive a motion to dismiss, a complaint must
26   contain sufficient factual matter to state a claim to relief that is plausible on its face.
27   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550
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 1   U.S. 544, 570 (2007)). This “plausibility requirement” requires the allegations in the
 2   complaint to “be enough to raise a right to relief above the speculative level.”
 3   Twombly, 550 U.S. at 555. The plaintiff must plead “factual content that allows the
 4   court to draw the reasonable inference that the defendant is liable for the misconduct
 5   alleged.” Iqbal, 556 U.S. at 678. Thus, “where the well-pleaded facts do not permit
 6   the court to infer more than the mere possibility of misconduct, the complaint has
 7   alleged — but it has not show[n] — that the pleader is entitled to relief.” Id. (internal
 8   citation omitted). Determining whether a complaint states a plausible claim for relief
 9   is “a context-specific task that requires the reviewing court to draw on its judicial
10   experience and common sense.” Id. at 679.
11         Generally, in evaluating a motion for failure to state a claim upon which relief
12   can be granted, “[a]ll allegations of material fact are taken as true and construed in the
13   light most favorable to the nonmoving party.” Spreewell v. Golden State Warriors,
14   266 F.3d 979, 988 (9th Cir. 2001). A “court need not, however, accept as true
15   allegations that contradict matters properly subject to judicial notice or by exhibit.” Id.
16   “Nor is the court required to accept as true allegations that are merely conclusory,
17   unwarranted deductions of fact, or unreasonable inferences.” Id.; see also, Doe I v.
18   Wal-Mart Stores, Inc., 572 F.3d 677, 683 (9th Cir. 2009) (courts “need not accept
19   Plaintiffs’ unwarranted conclusion in reviewing a motion to dismiss”); Iqbal, 556 U.S.
20   at 678-679 (modern pleading standard “does not unlock the doors of discovery for a
21   plaintiff armed with nothing more than conclusions”).
22         Furthermore, while a motion under Rule 12(b)(6) generally is limited to the
23   pleadings, a court may rely on documents outside the pleadings if they are subject to
24   judicial notice, or if they are integral to the plaintiff’s claims and their authenticity is
25   not disputed. Parrino v. FHP, Inc., 146 F.3d 699, 705-06 (9th Cir. 1998), superseded
26   by statute on other grounds as recognized in Abrego Abrego v. The Dow Chem. Co.,
27   443 F.3d 676, 681 (9th Cir. 2006); Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir.
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 1   2007). The Ninth Circuit has explained that such an extension comes from the policy
 2   concern underlying this rule: Preventing plaintiffs from surviving a Rule 12(b)(6)
 3   motion by omitting references to documents upon which their claims are based.
 4   Swartz, 476 F.3d at 763; see also Anderson v. Kimberly-Clark Corp., C12-1979RAJ,
 5   2013 WL 9760040, at *1-*2 (W.D. Wash. Sept. 25, 2013) aff’d, 570 Fed. Appx. 927
 6   (Fed. Cir. 2014) and cert. denied, 136 S. Ct. 142 (2015) (photographs of accused
 7   products considered on motion to dismiss patent claim as they are central to plaintiffs’
 8   allegations); Parker v. Kimberly-Clark Corp., 11 C 5658, 2012 WL 74855 at *1 (N.D.
 9   Ill. Jan. 10, 2012) (same); Pepitone v. Am. Standard, Inc., 983 F.2d 1087 (Fed. Cir.
10   1992) (taking judicial notice of prior art to dismiss design patent infringement claim);
11   Hoganas AB v. Dresser Indus., Inc., 9 F.3d 948, 954 n. 27 (Fed. Cir. 1993) (court may
12   consider prior patents because patents are amenable to judicial notice).
13                2.     Pleading Design Patent Infringement
14         A design patent contains only a single claim, and that claim is to the ornamental
15   (non-functional) design of the specified article “as shown.” Elmer v. ICC Fabricating,
16   Inc., 67 F.3d 1571, 1577 (Fed. Cir. 1995).3 Because a design patent is defined by its
17   drawings, the scope of a design patent is very narrow. In re Mann, 861 F.2d 1581,
18   1582 (Fed. Cir. 1988) (“[d]esign patents have almost no scope” and are “limited to
19   what is shown in the application drawings”). Design patent infringement is determined
20   under the “ordinary observer test.” Crocs, Inc. v. Intl. Trade Commn., 598 F.3d 1294,
21   1303 (Fed. Cir. 2010). That is, a design patent is infringed only if the two designs in
22   question are “substantially the same,” i.e., an ordinary observer, familiar with the prior
23   art, would be deceived into thinking that the accused design was the same as the
24   patented design. Id. (citing Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678
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26         3
             The claimed portion of the drawings is shown by the use of solid lines, while
     those portions unclaimed, and specifically disclaimed, are shown by the use of broken
27   lines. Apple, Inc. v. Samsung Elecs. Co., Ltd., 11-CV-01846-LHK, 2012 WL 3071477,
     at *4 (N.D. Cal. July 27, 2012).
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 1   (Fed. Cir. 2008) (en banc)). In evaluating infringement, the appearance of a design as
 2   a whole is controlling: “There can be no infringement based on the similarity of
 3   specific features if the overall appearance of the designs are dissimilar.” OddzOn
 4   Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1405 (Fed. Cir. 1997).
 5         “The proper comparison requires a side-by-side view comparison of the
 6   drawings of the [asserted design patent] and the accused products.” Crocs, Inc., 598
 7   F.3d at 1304. The Federal Circuit has recognized that, in some instances, “the claimed
 8   design and the accused design will be sufficiently distinct that it will be [clear] without
 9   more that the patentee has not met its burden of proving the two designs would appear
10   ‘substantially the same’ to the ordinary observer.” Egyptian Goddess, 543 F.3d at 678.
11   However, “when the claimed and accused designs are not plainly dissimilar, resolution
12   of the question whether the ordinary observer would consider the two designs to be
13   substantially the same will benefit from a comparison of the claimed and accused
14   designs with the prior art.” Id.; see also Great Neck Saw Mfrs., Inc. v. Star Asia,
15   U.S.A., LLC, 727 F. Supp. 2d 1038, 1051 (W.D. Wash. 2010). “[D]ifferences between
16   the claimed and accused designs that might not be noticeable in the abstract can
17   become significant to the hypothetical ordinary observer who is conversant with the
18   prior art.” Egyptian Goddess, 543 F.3d at 678; see also Great Neck Saw Mfrs., Inc.,
19   727 F. Supp. 2d at 1051.
20         Thus, if the overall appearance of the accused product and patented design are
21   “plainly dissimilar,” the prior art need not be considered. Great Neck Saw Mfrs., Inc.,
22   727 F. Supp. 2d at 1051-52. If the designs are not plainly dissimilar, then the prior art
23   must be analyzed to determine whether the designs are so similar that an ordinary
24   observer familiar with the prior art would be deceived into believing that the accused
25   product is the same as the patented design. Egyptian Goddess, 543 F.3d at 678.
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                  3.    Design Patent Infringement Claims Routinely Are Dismissed At
 1                      The Pleading Stage
 2         As noted above, the infringement analysis involves a side-by-side study of the
 3   patented design and the appearance of the accused products. Great Neck Saw Mfrs.,
 4   Inc., 727 F. Supp. 2d at 1051 (citing Crocs, 598 F.3d at 1304).4 Because such a
 5   comparison can be made solely on evidence that is central to a plaintiff’s claim, district
 6   courts routinely dismiss design patent infringement claims at the pleading stage.5 See
 7   e.g., SCG Characters LLC v. Telebrands Corp., CV-15-00374 DDP (AGRx), 2015
 8   WL 4624200, at *6 (C.D. Cal. Aug. 3, 2015) (“the Court may consider the patents and
 9   the images of the accused products without converting the motion to dismiss into one
10   for summary judgment.”); Anderson v. Kimberly-Clark Corp., 570 Fed. Appx. 927,
11   931-934 (Fed. Cir. 2014) (district court “properly concluded that ‘plain differences’
12   exist between the accused products and the patented design”) (applying motion to
13   dismiss test and applying Ninth Circuit law); Colida v. Nokia, Inc., No. 2009-1326,
14   2009 WL 3172724, at *2 (Fed. Cir. Oct. 6, 2009) (dismissing design patent
15   infringement claims because “dissimilarities far exceed the similarities”).
16

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18         4
             It is irrelevant that ’D078 Patent and the Accused Product are both game
     controllers, as many courts have found the same products to be plainly dissimilar. See,
19   e.g., Competitive Edge, Inc. v. Staples, Inc., 763 F. Supp. 2d 997 (N.D. Ill. 2010)
     (calculators with bubble shaped keys “plainly dissimilar”); Ethicon Endo-Surgery, Inc.
20   v. Covidien, Inc., 796 F.3d 1312 (Fed. Cir. 2015) (finding “hand-held surgical devices
     with open trigger handles” dissimilar); Anderson v. Kimberly-Clark Corp., 570 Fed.
21   Appx. 927 (design for underwear dissimilar from accused underwear).
22         5
              Plaintiff alleges, on information and belief and without fact, that Mad Catz’
     purported infringement was “willful.” (Complaint ¶ 16.) California federal courts
23   hold that a plaintiff must plead pre-suit knowledge to plead willfulness. See Robert
     Bosch Healthcare Sys., Inc. v. Express MD Sols., LLC, C 12-00068 JW, 2012 WL
24   2803617, at *3 (N.D. Cal. July 10, 2012) (plaintiff “failed to make out even the ‘barest
     factual assertion’ that Defendant knew of the patents-in-suit, but instead has made a
25   mere allegation, without more, that Defendant had actual knowledge of those
     patents”); see also MyMedicalRecords, Inc. v. Jardogs, LLC, 1 F. Supp. 3d 1020,
26   1025-27 (C.D. Cal. 2014); Seoul Laser Dieboard Sys. Co., Ltd. v. Serviform, S.r.l., 957
     F. Supp. 2d 1189, 1196-97 (S.D. Cal. 2013); Avocet Sports Tech., Inc. v. Garmin Int’l,
27   Inc., No. C 11-04049 JW, 2012 WL 1030031, at *4 (N.D. Cal. Mar. 22, 2012).
     Plaintiff’s claim for willful infringement may be dismissed on this ground alone.
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                                        MEM. OF P. & A. IN SUPP. OF MAD CATZ’ MOT. TO DISMISS COMPLAINT
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           B.    Plaintiff’s Complaint Should Be Dismissed For Failure To State A
 1               Plausible Claim For Design Patent Infringement
 2               1.     The Accused Product Is Dissimilar From the Claimed Design
 3         A simple side-by-side view comparison demonstrates that Plaintiff simply
 4   cannot meet its threshold burden of establishing that the Accused Product and the
 5   Claimed Design are “substantially similar.” Egyptian Goddess, 543 F.3d at 678; Great
 6   Neck Saw Mfrs., Inc., 727 F. Supp. 2d at 1051. To the contrary, the Accused Product
 7   is “plainly dissimilar” from the patented design, and no ordinary observer familiar with
 8   the prior art would be deceived into believing that the Accused Product is the same.
 9         To demonstrate this dissimilarity, below is a side-by-side comparison view of all
10   seven of the drawings of the ’D078 Patent and photographic images of the Accused
11   Product pictured in angles and from viewpoints corresponding to each of the angles
12   and viewpoints of the seven drawings of the ’D078 Patent.
13                Claimed Design                                 Accused Product
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     (Compare Marshall Decl., ¶ 2, Ex. A with ¶ 4, Ex. C.) As shown above, the Accused
23
     Product looks nothing like the Claimed Design and the side-by-side comparison
24
     reveals many easily discernable differences or dissimilarities between the Claimed
25
     Design of the ’D078 Patent and the Accused Product. Indeed, as described in the
26
     following chart (and as shown in the pictorial comparison of the Introduction section,
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 1   supra), the Accused Product lacks the most prominent ornamental features of the
 2   Claimed Design and does not even remotely resemble the design of the ’D078 Patent.
 3                Claimed Design                                  Accused Product
 4
                                            Top Side
 5      Starting from its outside lines, the      The top side of the Accused Product
         top side of the Claimed Design              follows a straight, undeviating path
 6       inclines upward until a point, and          across the top of the body — no
         then it curves inward to form an            indentation or angles are present on
 7       indentation similar to the bottom           the top side.
         line.
 8

 9
                                       Left & Right Sides
10      The left and right sides of the body     The left and right sides of the body
         of the Claimed Design are gently            of the Accused Product come to a
11       curved or rounded in a uniform              point in the middle, with the upper
         fashion.                                    portion of each side taking an
12                                                   outward path at a greater angle then
                                                     the lower portions.
13

14                                  Left & Right Handgrips
15      The handgrips of the Claimed             The extension of the right handgrip
         Design both extend from the body,          from the main portion of the body
16       but the right handgrip extension is        of the Accused Product is much
         not nearly as pronounced as the left       more pronounced than in the
17       handgrip extension. The right              Claimed Design. Indeed, the user
         handgrip appears to be roughly less        could grasp in a fist and hold the
18       than half as long as the left handgrip.    Accused Product by this extension
         Indeed, the right handgrip is close to     alone, while the Claimed Design
19       flush with the bottom line of the          does not protrude enough from the
         body of the Claimed Design.                body to grasp.
20
        Both the left and right handgrips of           The left and right handgrips of the
21       the Claimed Device come to a                    Accused Product are straight with
         rounded, egg-shaped curved arc—                 edges and right angles and square-
22       nearly semi-circular in nature.                 like features.
23        The underneath portion of the left             The underneath portion of the left
           and right handgrips are bulbous.                and right handgrips are flat.
24
          The inner portions of both handgrips           The inner portions of both handgrips
25         are curved and rounded.                         are flat.
26
                                                Body
27      The face surface of the Claimed                Starting at the handgrips, the face of
         Design is flat, level, and uniform.             the Accused Device slopes or
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                                                11
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         That is, the upper portion of the face            declines dramatically from the
 1       of the Claimed Design and the lower               center and upper portions.
         portion are on the same plane.
 2
        As the top side and bottom side of
 3       the Claimed Design indent inward,
         giving body the body an hour-glass,
 4       narrowing aspect to its center not
         found in the Accused Device.
 5
                                          Bottom Side
 6      The bottom line of the Claimed           The bottom line of the Accused
 7
         Design is arched and curves gently         Product Design does not curve
         from the left handgrip to the right.       gently, but deviates by sharp angle
 8
                                                    and then continues straight across, in
                                                    a flat line, from the left handgrip to
 9
                                                    the right until it again deviates by
                                                    sharp angle.
10
                                          Underneath
11
        The underneath portion of the             The underneath portion of the
12       Claimed Design is a flat, smooth            Accused Product has ridges,
         uniform surface without indentation,        protrusions, angles, and reliefs.
13       angles, reliefs, bulges, protusions,
         extensions, or different segments.
14

15   (Compare Marshall Decl., ¶ 2, Ex. A with ¶ 4, Ex. C.) In short, an ordinary observer

16   would immediately notice that the overall appearance of the Accused Product is

17   “plainly dissimilar” from the Claimed Design illustrated in the ’D078 Patent. In view

18   of these significant differences, it is clear, without more, that Plaintiff has not met, and

19   cannot meet, its burden of proving that the designs would appear substantially similar

20   to an ordinary observer. Thus, there can be no infringement. Egyptian Goddess, 543

21   F.3d at 678. The Court is not required to accept Plaintiff’s conclusory allegations of
22   infringement as true, and because Plaintiff has not stated a plausible claim for relief,
23   the Complaint should be dismissed.
                2.     Prior Art Highlights The Dissimilarity Between The Accused
24                     Product And The Claimed Design
25         As the overall appearance of the Accused Product is “plainly dissimilar” from
26   the Claimed Design, the prior art need not be considered. Great Neck Saw Mfrs., Inc.,
27   727 F. Supp. 2d at 1051-52. However, an analysis of the prior art only further serves
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 1   to demonstrate that an ordinary observer familiar with such prior art would not be
 2   deceived into believing that the Accused Product is the same as the patented design.
 3         Not surprisingly, there are numerous prior art references disclosing various
 4   designs for video game controllers. And, the differences between the appearance of
 5   the Accused Product and the Claimed Design are even more apparent when this prior
 6   art is considered. As noted above, Mad Catz itself was the assigned holder of the
 7   following design patents dating back to 1995:
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11       USD380,783S             USD410,914               USD415,752                 USD425,047
          (filed 1995)           (filed 1998)             (filed 1998)               (filed 1999)
12

13   (See Marshall Decl. at ¶¶ 5-9, Exs. D-G) Neither the ’D078 Patent nor the Complaint
14   cites as prior art any of the design patents held by Mad Catz, even though those design
15   patents were issued as many as 13 years before filing the application for the ’D078
16   Patent. (Id.) The ’D078 Patent does, however, cite some prior art, which Plaintiff
17   does not mention in its Complaint, but which is relevant for the present Motion.
18   Included in that prior art are the following design patents:
19

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23            USD435,551                     USD471,552                          USD585,931
24   (Marshall Decl. ¶¶ 10-12, Exs. H-J.)
25         An ordinary observer familiar with the above-identified prior art would never be
26   deceived into believing that the appearance of the Accused Product is the same as the
27   Claimed Design. Rather, an observer would recognize that the appearance of Accused
28   Product is more similar to the designs disclosed in prior patents and products. Under
                                                13
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 1   these circumstances, the Accused Product cannot infringe the ’D078 Patent. See
 2   Egyptian Goddess, 543 F.3d at 682 (no infringement where accused design more
 3   similar to prior art than to patented design); Seirus Innovative Accessories, Inc. v.
 4   Cabela’s, Inc., 827 F. Supp. 2d 1150, 1156 (S.D. Cal. 2011) (in light of similarities
 5   between prior art and accused product, no reasonable fact-finder could conclude that
 6   an ordinary observer would believe accused product was same as patented design).
 7         In sum, Plaintiff’s Complaint contains only a single, unsupported, conclusory
 8   allegation of infringement. That allegation need not be accepted as true on this
 9   Motion. The documents available to the Court on this Motion conclusively
10   demonstrate that Plaintiff cannot state a plausible claim for design patent infringement,
11   given the obvious dissimilarity between the patented design and the Accused Products
12   and the prior art. Mad Catz should not be forced to incur the costs associated with
13   litigating a meritless case brought by a Plaintiff seeking an unwarranted financial
14   windfall. Iqbal, 556 U.S. at 678-679 (conclusory pleading “does not unlock the doors
15   of discovery”). Accordingly, Plaintiff’s claim for design patent infringement should be
16   dismissed.
17         C.     Plaintiff Should Not Be Given Leave to Amend
18         Plaintiff should not be given leave to amend the Complaint because it is
19   impossible for it to state facts to correct the above referenced deficiencies in its
20   infringement claim. In other words, no set of facts will make the Accused Product
21   substantially similar to the Claimed Design. Amending the Complaint here would be
22   futile. District courts have discretion to dismiss pleadings with prejudice in such
23   circumstances. Leadsinger, Inc. v. BMG Music Publ’g, 512 F.3d 522, 532 (9th Cir.
24   2008).
25   IV.   CONCLUSION
26         For the foregoing reasons, Plaintiff has not and cannot plead any fact supporting
27   a prima facie infringement claim of the ’D078 Patent against Mad Catz. Amendment
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                                                14
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 1   would be futile, as a quick visual inspection of the asserted design patent and Accused
 2   Product shows non-infringement that cannot be cured. Therefore, the Court should
 3   dismiss the Complaint with prejudice
 4

 5   DATED: May 4, 2016                          Respectfully Submitted,
 6

 7                                               MAD CATZ, INC.
 8                                               By: s/ Tyson E. Marshall
 9                                               Attorney for Defendant
                                                 MAD CATZ, INC.
10                                               E-mail: tmarshall@madcatz.com
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 1                               CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that on May 4, 2016, a true and correct copy of
 3   the foregoing was transmitted electronically to the Electronic Filing System of the
 4   United States District Court for the Southern District of California which, under Local
 5   Civil Rules 5.2 and 5.4(b) & (c), is believed to have sent notice of such filing,
 6   constituting service of the filed document, on all Filing Users, all of whom are
 7   believed to have consented to electronic service.
 8          Executed on May 4, 2016, at San Diego, California.
 9

10                                           s/Tyson E. Marshall
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     Certificate of Service
